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11 Plaintiffs’ Counsel
12 [See Additional Counsel on Signature Page]
13
                        IN THE UNITED STATES DISTRICT COURT
14
                             FOR THE DISTRICT OF ARIZONA
15
   James Paul Mooney; and Lazy Coyote RV      LEAD CASE NO. 2:15-cv-01092-DGC
16 Village, LLC,                              (Consolidated with Case No. 2:15-cv-
                                              01380-DGC)
17               Plaintiffs,
18                                            PLAINTIFFS’ NOTICE OF SERVICE
          v.                                  OF EXPERT DISCLOSURE
19
   Union Pacific Railroad Company,            Honorable David G. Campbell
20
   successor to Southern Pacific
21 Transportation Company; SFPP, L.P.
   (formerly known as Santa Fe Pacific
22 Pipelines, Inc., formerly known as
23 Southern Pacific Pipelines, Inc.); Kinder
   Morgan Operating L.P. “D”; and Kinder
24 Morgan G.P., Inc.,
25
                 Defendants.
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                              PLAINTIFFS’ NOTICE OF
                          SERVICE OF EXPERT DISCLOSURE
      Case 2:15-cv-01092-DGC Document 310 Filed 12/08/17 Page 2 of 4



 1         Pursuant to LRCiv 5.2, Plaintiffs James Paul Mooney and Lazy Coyote RV
 2 Village, LLC (“Plaintiffs”), file this Notice of Service of Expert Disclosure informing the
 3 Court that, on the 8th day of December 2017, Plaintiffs served their Expert Disclosure
 4 upon Defendants Union Pacific Railroad Company (formerly known as Southern Pacific
 5 Transportation Company), SFPP, L.P. (formerly known as Santa Fe Pacific Pipelines, Inc.
 6 and Southern Pacific Pipelines, Inc.), Kinder Morgan Operating L.P. “D”, and Kinder
 7 Morgan G.P., Inc., through their counsel of record:
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                               PLAINTIFFS’ NOTICE OF
                           SERVICE OF EXPERT DISCLOSURE
       Case 2:15-cv-01092-DGC Document 310 Filed 12/08/17 Page 3 of 4



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     Dated: December 8, 2017                       Respectfully Submitted,
 2
                                                   /s/ Barrett J. Vahle
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 4   Elizabeth G. McCulley                         Barrett J. Vahle (admitted pro hac vice)
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26                              Additional Plaintiffs’ Counsel
27
28
                                                 -3-
                              PLAINTIFFS’ NOTICE OF
                          SERVICE OF EXPERT DISCLOSURE
       Case 2:15-cv-01092-DGC Document 310 Filed 12/08/17 Page 4 of 4



 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that, on December 8, 2017, I electronically filed the above and
 3 foregoing with the Clerk of Court using the CM/ECF system, which transmitted notice of
 4 the filing to all counsel of record.
 5
 6                                        /s/ Barrett J. Vahle
                                          Barrett J. Vahle
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                                PLAINTIFFS’ NOTICE OF
                            SERVICE OF EXPERT DISCLOSURE
